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 Fill in this information to identify the case:

                Genotox Laboratories, Ltd.
  Debtor name _________________________________________________________________

                                          Western District of Texas
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                    (State)
                                        24-10454
  Case number (If known):              _________________________


                                                                                                                                                                                                    " Check if this is an
                                                                                                                                                                                                        amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                 12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                  $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                        903,427.74
                                                                                                                                                                                                   $ __________________
           Copy line 91A from Schedule A/B........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                          903,427.74
                                                                                                                                                                                                   $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                         180,000.00
                                                                                                                                                                                                   $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                   $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F.........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                                       8,224,663.26
                                                                                                                                                                                                  +$ __________________
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................




4. Total liabilities...........................................................................................................................................................................        8,404,663.26
                                                                                                                                                                                                   $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                      page 1
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  Fill in this information to identify the case:

               Genotox Laboratories, Ltd.
  Debtor name __________________________________________________________________


                                          Western District of Texas
  United States Bankruptcy Court for the:_______________________________

                              24-10454
  Case number (If known):     _________________________                                                                             " Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

   " No. Go to Part 2.
   " Yes. Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)               Type of account                 Last 4 digits of account number
          Frost Bank
    3.1. _________________________________________________  Checking
                                                           ______________________              3
                                                                                               ____  2
                                                                                                    ____  3
                                                                                                         ____ 6
                                                                                                              ____                 0.00
                                                                                                                                 $______________________
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 0.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   " No. Go to Part 3.
   " Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          Agellan Commercial REIT, lessor, security deposit
    7.1. ________________________________________________________________________________________________________                   48,625.00
                                                                                                                                  $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                   Schedule A/B: Assets       Real and Personal Property                               page 1
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Debtor           Genotox Laboratories, Ltd.
                _______________________________________________________                                                 24-10454
                                                                                                 Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                     48,625.00
                                                                                                                                   $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

     " No. Go to Part 4.
     " Yes. Fill in the information below.                          These amounts do not include Medicare or Medicaid
                                                                    receivables which are very likely uncollectable in whole Current value of debtor’s
                                                                    due to Settlement Agreement and Deferred Prosecution interest
11. Accounts receivable                                             Agreement with the Department of Justice.

     11a. 90 days old or less:     638,898.00
                                  ____________________________    632,509.20
                                                               – ___________________________          = ........ $                  6,388.80
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         38,841,393.76
                                   ___________________________    38,452,979.82
                                                               – ___________________________          = ........ $                  388,413.94
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                 394,802.74
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
     " No. Go to Part 5.
     " Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:

    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets       Real and Personal Property                               page 2
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                Genotox Laboratories, Ltd.                                                                               24-10454
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
     " No. Go to Part 6.
     " Yes. Fill in the information below.
      General description                             Date of the last         Net book value of        Valuation method used        Current value of
                                                      physical inventory       debtor's interest        for current value            debtor’s interest
                                                                               (Where available)
19. Raw materials
    ________________________________________                 ______________                                                         $______________________
                                                             MM / DD / YYYY
                                                                               $__________________       ______________________

20. Work in progress
    ________________________________________                ______________                                                          $______________________
                                                            MM / DD / YYYY
                                                                               $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                ______________                                                          $______________________
                                                            MM / DD / YYYY
                                                                               $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                ______________                                                              unknown
                                                                                                                                    $______________________
                                                            MM / DD / YYYY
                                                                               $__________________       ______________________


23. Total of Part 5                                                                                                                 $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     " No
     " Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     " No
     " Yes. Book value _______________             Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     " No
     " Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (othe r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     " No. Go to Part 7.
     " Yes. Fill in the information below.
      General description                                                       Net book value of       Valuation method used        Current value of debtor’s
                                                                                debtor's interest       for current value            interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________        ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________        ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________        ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________        ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6

    ______________________________________________________________               $________________        ____________________     $______________________


Official Form 206A/B                                         Schedule A/B: Assets        Real and Personal Property                               page 3
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Debtor
                Genotox Laboratories, Ltd.
               _______________________________________________________                                                   24-10454
                                                                                                  Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                    $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     " No
     " Yes. Is any of the debtor’s property stored at the cooperative?
       " No
       " Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     " No
     " Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     " No
     " Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     " No
     " Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     " No. Go to Part 8.
     " Yes. Fill in the information below.

    General description                                                          Net book value of      Valuation method             Current value of debtor’s
                                                                                 debtor's interest      used for current value       interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________      ____________________
                                                                                                                                      Unknown
                                                                                                                                   $______________________
40. Office fixtures

                                                                                  $________________      ____________________         Unknown
                                                                                                                                   $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
Various office equipment, including computers.                                                                                       Unknown
                                                                                  $________________      ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________       ____________________      $______________________
    42.2___________________________________________________________               $________________       ____________________      $______________________
    42.3___________________________________________________________               $________________       ____________________      $______________________
43. Total of Part 7.
                                                                                                                                      0.00
                                                                                                                                    $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     " No
     " Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     " No
     " Yes
Official Form 206A/B                                          Schedule A/B: Assets         Real and Personal Property                             page 4
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 Debtor
                Genotox Laboratories, Ltd.
               _______________________________________________________
                                                                                                               24-10454
                                                                                            Case number (if known)_____________________________________
               Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     " No. Go to Part 9.
     " Yes. Fill in the information below.

    General description                                                    Net book value of       Valuation method used        Current value of
                                                                           debtor's interest       for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________       ____________________       $______________________

    47.2___________________________________________________________         $________________       ____________________       $______________________

    47.3___________________________________________________________         $________________       ____________________       $______________________

    47.4___________________________________________________________         $________________       ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________        ____________________       $______________________

    48.2__________________________________________________________         $________________        ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________        ____________________       $______________________

    49.2__________________________________________________________         $________________        ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    Lab equipment, owned and leased.
                                                                             3,899,436.00            Estimated liquidation value 460,000.00
    ______________________________________________________________         $________________        ____________________        $______________________


51. Total of Part 8.                                                                                                             460,000.00
                                                                                                                               $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     " No
     " Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     " No
     " Yes




 Official Form 206A/B                                     Schedule A/B: Assets     Real and Personal Property                               page 5
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             Genotox Laboratories, Ltd.                                                                                24-10454
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
       " No. Go to Part 10.
       " Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       2170 Woodward Street, Suite 100                         Lease
55.1
       Austin, Texas 78744
                                                                                                                                         0.00
                                                                                     $_______________      ____________________        $_____________________

55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     0.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       " No
       " Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       " No
       " Yes
Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rt y

59. Does the debtor have any interests in intangibles or intellectual property?
       " No. Go to Part 11.
       " Yes. Fill in the information below.
        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
                                                                                                                                          0.00
    Intellectual Property License Agreement with Genotox ID, LLC
    ______________________________________________________________                   $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations                                                                                  Unknown
    Lists of customers
    ______________________________________________________________                   $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill                                                                                                                               Unknown
       ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.                                                                                                                     0.00
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets       Real and Personal Property                              page 6
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Debtor            Genotox Laboratories, Ltd.
                 _______________________________________________________                                             24-10454
                                                                                              Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    " No
    " Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    " No
    " Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    " No
    " Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    " No. Go to Part 12.
    " Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
71. Notes receivable
     Description (include name of obligor)
                                                                     _______________ –    __________________________         =$   $_____________________
     ______________________________________________________
                                                                     Total face amount    doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
         Undetermined
     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                 $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                   $_____________________
   ____________________________________________________________                                                                   $_____________________

78. Total of Part 11.
                                                                                                                                  $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    " No
    " Yes
Official Form 206A/B                                         Schedule A/B: Assets     Real and Personal Property                              page 7
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Debtor
                   Genotox Laboratories, Ltd.
                  _______________________________________________________
                                                                                                                                           24-10454
                                                                                                                       Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         0.00
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         48,625.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         394,802.74
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         0.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         460,000.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            0.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. $
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      0.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         903,427.74                        0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  903,427.74                                                                                     903,427.74
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




Official Form 206A/B                                                     Schedule A/B: Assets               Real and Personal Property                                 page 8
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                                                 32
  Fill in this information to identify the case:
              Genotox Laboratories, Ltd.
  Debtor name __________________________________________________________________
  United States Bankruptcy Court for the: Western  District of Texas
                                          _______________________________________

                                 24-10454
  Case number (If known):       _________________________                                                                                            ! Check if this is an
                                                                                                                                                          amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                              12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
         No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                               Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                Amount of claim           Value of collateral
                                                                                                                               Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien          of collateral.            claim
     United States of America                                    Various office equipment, including
      __________________________________________
                                                                 computers. Various lab equipment.                               180,000.00
                                                                                                                               $__________________          Unknown
                                                                                                                                                          $_________________

     Creditor’s mailing address

      G. Karthik Srnivasen, Alan Buie
      ________________________________________________________
      601 NW Loop 410, Suite 600, San Antonio, TX 78216
      ________________________________________________________
       Texas, 78216
                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Settlement   Agreement with DOJ
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________          ! No
    Last 4 digits of account                                     ! Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                ! No
    same property?                                               ! Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    ! No
                                                                 As of the petition filing date, the claim is:
    ! Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                 ! Contingent
                                                                 ! Unliquidated
                                                                 ! Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                               $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                ! No
    same property?                                               ! Yes
    ! No                                                         Is anyone else liable on this claim?
    ! Yes. Have you already specified the relative               ! No
           priority?
                                                                 ! Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         ! No. Specify each creditor, including this
                creditor, and its relative priority.             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                 ! Contingent
         ! Yes. The relative priority of creditors is            ! Unliquidated
                   specified on lines _____                      ! Disputed
 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  180,000.00
                                                                                                                                $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        2
                                                                                                                                                            page 1 of ___
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                                                 32
Debtor
               Genotox Laboratories, Ltd.
               _______________________________________________________                                                    24-10454
                                                                                                  Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1       Last 4 digits of
         Name and address
                                                                                                               did you enter the             account number
                                                                                                               related creditor?             for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________



Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___   2
                                                                                                                                                      2 of ___
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      Fill in this information to identify the case: 32
                      Genotox Laboratories, Ltd.
      Debtor          __________________________________________________________________

                                              Western District of Texas
      United States Bankruptcy Court for the: ________________________________

      Case number       24-10454
                        ___________________________________________
      (If known)

                                                                                                                                       ! Check if this is an
                                                                                                                                           amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                       12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w it h PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
      ! No. Go to Part 2.
      ! Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
      3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                               ! Contingent
                                                               ! Unliquidated
                                                               ! Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                      ! No
                                                               ! Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                               ! Contingent
                                                               ! Unliquidated
                                                               ! Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                               ! No
      Specify Code subsection of PRIORITY unsecured            ! Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                               ! Contingent
                                                               ! Unliquidated
                                                               ! Disputed
                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                               ! No
      Specify Code subsection of PRIORITY unsecured            ! Yes
      claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                               18
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  Debtor       _______________________________________________________     Case number (if known)_____________________________________
               Name                                                   32
 Pa rt 2 :    List All Cre ditors w it h N ON PRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    ADT Security Services (autopay)                                                                                          408.10
                                                                                                                           $________________________________
                                                                           ! Contingent
    PO Box 371878                                                          ! Unliquidated
                                                                           ! Disputed
    Pittsburgh, PA, 15250-7818                                                                     Suppliers or Vendors
                                                                           Basis for the claim:



    Date or dates debt was incurred            4/4/2024
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            1443
                                               ___________________
                                                                           ! No
                                                                           ! Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Affinity eHealth Inc.                                                  Check all that apply.                             16,710.00
                                                                                                                           $________________________________
    5400 Shawnee Rd. Ste 306                                               ! Contingent
                                                                           ! Unliquidated
    Alexandria, VA, 22312                                                  ! Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors


    Date or dates debt was incurred            3/31/2024
                                               ___________________         Is the claim subject to offset?
                                                                           ! No
    Last 4 digits of account number            __________________          ! Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Agellan Commercial Reit US LP                                                                                            22,326.57
                                                                                                                           $________________________________
                                                                           ! Contingent
    Southpark FOP Account                                                  ! Unliquidated
                                                                           ! Disputed
     Round Rock, TX, 78664
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            3/26/2024
                                               ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          ! No
                                                                           ! Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Agena Bioscience, Inc.                                                 Check all that apply.
                                                                                                                             239,324.06
                                                                                                                           $________________________________
    4755 Eastgate Mall                                                     ! Contingent
                                                                           ! Unliquidated
    San Diego, CA, 92121                                                   ! Disputed
                                                                            Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            7/11/2023
                                               ___________________         Is the claim subject to offset?

    Last 4 digits of account number            0328
                                               __________________          ! No
                                                                           ! Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Agilent Technologies (ACH)                                                                                               67,419.16
                                                                                                                           $________________________________
                                                                           Check all that apply.
    5391 Stevens Creek Blvd.                                               ! Contingent
                                                                           ! Unliquidated
    Santa Clara, CA, 95051-7201                                            ! Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            11/1/2023
                                               ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            3906
                                               __________________          ! No
                                                                           ! Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Air Products & Chemicals, Inc (ACH)                                                                                      214.35
                                                                                                                           $________________________________
                                                                           Check all that apply.
    Mail Code: 5701                                                        ! Contingent
    P. O. Box 71200                                                        ! Unliquidated
    Charlotte, NC, 28272-1200                                              ! Disputed
                                                                           Basis for the claim:    Suppliers or Vendors

    Date or dates debt was incurred            3/25/2024
                                               ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         ! No
                                                                           ! Yes

    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   2 of ___
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               Name                                                   32
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             400.00
                                                                                                                    $________________________________
 Alleva Software                                                    ! Contingent
 29982 Ivy Glenn Dr.                                                ! Unliquidated
                                                                    ! Disputed
 Laguna Niguel, CA, 92677
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred       1/7/2023
                                             ___________________
                                                                    ! No
                                                                    ! Yes
        Last 4 digits of account number      ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      5,028.61
                                                                                                                    $________________________________
 Allied Universal
 701 Presidential Drive                                             ! Contingent
                                                                    ! Unliquidated
 Dallas, TX, 75320-0906                                             ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       4/4/2024
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      4320
                                             ___________________
                                                                    ! No
                                                                    ! Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 AT&T                                                               Check all that apply.
                                                                                                                     218.21
                                                                                                                    $________________________________
 209 S. Akard Dr.                                                   ! Contingent
                                                                    ! Unliquidated
 Dallas , TX, 75202                                                 ! Disputed
                                                                    Basis for the claim: Telephone / Internet services



        Date or dates debt was incurred      11/15/2023
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     ! No
                                                                    ! Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     468.00
                                                                                                                    $________________________________
 AthenaHealth, Inc.                                                 Check all that apply.
 P. O. Box 415615                                                   ! Contingent
                                                                    ! Unliquidated
 Boston, MA, 02241-5615                                             ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       3/13/2024
                                             ___________________    Is the claim subject to offset?
                                             8969                ! No
        Last 4 digits of account number      ___________________ ! Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Austin Tape & Label, Inc.                                          Check all that apply.
                                                                                                                      2,884.39
                                                                                                                    $________________________________
 3350 Cavalier Trail                                                ! Contingent
                                                                    ! Unliquidated
 Stow, OH, 44224                                                    ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       8/4/2023
                                             ____________________   Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes



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  Debtor       _______________________________________________________     Case number (if known)_____________________________________
               Name                                                   32
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             6,647,911.00
                                                                                                                    $________________________________
 Avutox, LLC                                                        ! Contingent
 Probus Law Firm PLLC                                               ! Unliquidated
 7701 N. Lamar Blvd., Suite 102                                     ! Disputed
 Austin, TX, 78746
                                                                    Basis for the claim: Judgment



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    ! No
                                                                    ! Yes
        Last 4 digits of account number      ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      1,092.00
                                                                                                                    $________________________________
 Balcones Shred
 P. O. Box 679901                                                   ! Contingent
                                                                    ! Unliquidated
 Dallas, TX, 75267-9901                                             ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       12/31/2023
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    ! No
                                                                    ! Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Bastrop Scale Co., Inc.                                            Check all that apply.
                                                                                                                     166.98
                                                                                                                    $________________________________
 P. O. Drawer 2100                                                  ! Contingent
                                                                    ! Unliquidated
 Bastrop, TX, 78602                                                 ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      10/4/2023
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     ! No
                                                                    ! Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     6,162.62
                                                                                                                    $________________________________
 Big Data, LLC dba Big Data Healthcare                              Check all that apply.
 38 Fountain Square Plaza                                           ! Contingent
                                                                    ! Unliquidated
 Cincinnati, OH, 45263                                              ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       3/1/2024
                                             ___________________    Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Bill.com                                                           Check all that apply.
                                                                                                                      Undetermined
                                                                                                                    $________________________________
 1810 Embarcadero Road                                              ! Contingent
 Palo Alto, CA, 94303                                               ! Unliquidated
                                                                    ! Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes



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  Debtor       _______________________________________________________     Case number (if known)_____________________________________
               Name                                                   32
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             385,693.47
                                                                                                                    $________________________________
 Cardinal Health                                                    ! Contingent
 P. O. Box 730112                                                   ! Unliquidated
                                                                    ! Disputed
 Dallas, TX, 75373
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred       11/10/2023
                                             ___________________
                                                                    ! No
                                                                    ! Yes
        Last 4 digits of account number      4856
                                             ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      284.00
                                                                                                                    $________________________________
 Cayman Chemical Co., Inc.
 16875 Collections Center Drive                                     ! Contingent
                                                                    ! Unliquidated
 Chicago, IL, 60693                                                 ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       11/16/2023
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      9762
                                             ___________________
                                                                    ! No
                                                                    ! Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Central Tox                                                        Check all that apply.
                                                                                                                     3,700.00
                                                                                                                    $________________________________
 525 Round Rock West Dr.,                                           ! Contingent
 Suite B240                                                         ! Unliquidated
 Round Rock, TX, 78681                                              ! Disputed
                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     ! No
                                                                    ! Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     16,307.09
                                                                                                                    $________________________________
 Cerilliant                                                         Check all that apply.
 CN-OH-L1WH                                                         ! Contingent
 Lockbox 005634                                                     ! Unliquidated
 Cincinnati, OH, 45226                                              ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       9/28/2023
                                             ___________________    Is the claim subject to offset?
                                             4319                ! No
        Last 4 digits of account number      ___________________ ! Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Charter Communications                                             Check all that apply.
                                                                                                                      137.97
                                                                                                                    $________________________________
 P. O. Box 6030                                                     ! Contingent
                                                                    ! Unliquidated
 Carol Stream, IL, 60197-6030                                       ! Disputed
                                                                    Basis for the claim: Telephone / Internet services



        Date or dates debt was incurred       1/26/2024
                                             ____________________   Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      9196
                                             ___________________    ! Yes



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  Debtor       _______________________________________________________     Case number (if known)_____________________________________
               Name                                                   32
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             14,060.88
                                                                                                                    $________________________________
 Chrom Tech, Inc. (ACH)                                             ! Contingent
 P.O. Box 240248                                                    ! Unliquidated
                                                                    ! Disputed
 Apple Valley, MN, 55124
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred       10/16/2023
                                             ___________________
                                                                    ! No
                                                                    ! Yes
        Last 4 digits of account number      8680
                                             ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      14,942.79
                                                                                                                    $________________________________
 Cliawaived Inc
 2721 Loker Ave W                                                   ! Contingent
                                                                    ! Unliquidated
 Carlsbad, CA, 92010                                                ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       9/8/2023
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    ! No
                                                                    ! Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 College American Pathologists (CAP)                                Check all that apply.
                                                                                                                     5,373.34
                                                                                                                    $________________________________
 P. O. Box 71698                                                    ! Contingent
                                                                    ! Unliquidated
 Chicago, IL, 60694-1698                                            ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      11/2/2023
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     ! No
                                                                    ! Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     9,677.45
                                                                                                                    $________________________________
 Comtron                                                            Check all that apply.
 11 Grace Avenue                                                    ! Contingent
 Suite 208                                                          ! Unliquidated
 Long Neck, NY, 11021                                               ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       4/1/2024
                                             ___________________    Is the claim subject to offset?
                                             2723                ! No
        Last 4 digits of account number      ___________________ ! Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Davis Wright Tremaine LLP                                          Check all that apply.
                                                                                                                      221,004.34
                                                                                                                    $________________________________
 920 Fifth Avenue                                                   ! Contingent
 Suite 3300                                                         ! Unliquidated
 Seattle, WA, 98104-1610                                            ! Disputed
                                                                    Basis for the claim: Services



        Date or dates debt was incurred       6/20/2023
                                             ____________________   Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes



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  Debtor       _______________________________________________________     Case number (if known)_____________________________________
               Name                                                   32
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             24,150.00
                                                                                                                    $________________________________
 Douglas Pitts                                                      ! Contingent
 2824 Audubon Dr.                                                   ! Unliquidated
                                                                    ! Disputed
 Middletown, OH, 45044
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred       3/31/2024
                                             ___________________
                                                                    ! No
                                                                    ! Yes
        Last 4 digits of account number      8142
                                             ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      35,227.29
                                                                                                                    $________________________________
 Drive Fullfillment
 1226 Southen 630                                                   ! Contingent
 Suite 1                                                            ! Unliquidated
 Sandy, UT, 84070                                                   ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       10/31/2023
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    ! No
                                                                    ! Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 eClinical Works, LLC                                               Check all that apply.
                                                                                                                     2,331.39
                                                                                                                    $________________________________
 P. O. Box 847950                                                   ! Contingent
                                                                    ! Unliquidated
 Boston, MA, 02284-7950                                             ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      2/5/2024
                                             ___________________    Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      0261
                                             __________________
                                                                    ! Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     1,535.04
                                                                                                                    $________________________________
 Ellkay, LLC                                                        Check all that apply.
 200 Riverway Blvd                                                  ! Contingent
                                                                    ! Unliquidated
 Elmwood Park, NJ, 7407                                             ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       1/3/2024
                                             ___________________    Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 EMD Millipore Corporation                                          Check all that apply.
                                                                                                                      5,950.56
                                                                                                                    $________________________________
 25760 Network Place                                                ! Contingent
                                                                    ! Unliquidated
 Chicago, IL, 60673                                                 ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       9/1/2023
                                             ____________________   Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      7185
                                             ___________________    ! Yes



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               Name                                                   32
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             830.21
                                                                                                                    $________________________________
 Experian Health, Inc.                                              ! Contingent
 P. O. Box 846133                                                   ! Unliquidated
                                                                    ! Disputed
 Los Angeles, CA, 90084-6133
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred       4/4/2024
                                             ___________________
                                                                    ! No
                                                                    ! Yes
        Last 4 digits of account number      6594
                                             ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      2,721.98
                                                                                                                    $________________________________
 Filtrous Inc
 12159 Flint                                                        ! Contingent
                                                                    ! Unliquidated
 Poway, CA, 92064                                                   ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       3/5/2024
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    ! No
                                                                    ! Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Fish & Richardson                                                  Check all that apply.
                                                                                                                     821.41
                                                                                                                    $________________________________
 60 South Sixth Street                                              ! Contingent
                                                                    ! Unliquidated
 Minneapolis, MN, 55402                                             ! Disputed
                                                                    Basis for the claim: Services



        Date or dates debt was incurred      3/22/2024
                                             ___________________    Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      9930
                                             __________________
                                                                    ! Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     109,734.85
                                                                                                                    $________________________________
 Fisher Scientific Co., LLC                                         Check all that apply.
                                                                    ! Contingent
 Boston, MA, 02241-3648                                             ! Unliquidated
                                                                    ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       10/13/2023
                                             ___________________    Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Fleet Maintenance of Texas                                         Check all that apply.
                                                                                                                      2,053.86
                                                                                                                    $________________________________
 P. O. Box 82045                                                    ! Contingent
                                                                    ! Unliquidated
 Austin, TX, 78708-2045                                             ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       8/3/2023
                                             ____________________   Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes



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               Name                                                   32
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             5,937.33
                                                                                                                    $________________________________
 FrontRunnerHC Inc.                                                 ! Contingent
 35 Cordage Park Circl                                              ! Unliquidated
                                                                    ! Disputed
 Plymouth, MA, 2360
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred       1/31/2023
                                             ___________________
                                                                    ! No
                                                                    ! Yes
        Last 4 digits of account number      ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      47,781.25
                                                                                                                    $________________________________
 Gene by Gene, Ltd.
 1445 North Loop West, Ste. 820                                     ! Contingent
                                                                    ! Unliquidated
 Houston, TX, 77008                                                 ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       3/31/2024
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    ! No
                                                                    ! Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Hamilton                                                           Check all that apply.
                                                                                                                     25,859.38
                                                                                                                    $________________________________
 P. O. Box 10030                                                    ! Contingent
                                                                    ! Unliquidated
 Reno, NV, 89520-0012                                               ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      9/11/2023
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     ! No
                                                                    ! Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     1,668.00
                                                                                                                    $________________________________
 Health Gorilla, Inc.                                               Check all that apply.
 255 Ponce de Leon Blvd.                                            ! Contingent
 Suite 300                                                          ! Unliquidated
 Coral Gables, FL, 33134                                            ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       2/1/2024
                                             ___________________    Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Healthcare Integrations                                            Check all that apply.
                                                                                                                      2,210.00
                                                                                                                    $________________________________
 4444 N. Belleview Ave.                                             ! Contingent
 Suite 105                                                          ! Unliquidated
 Kansas City, MO, 64154                                             ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       1/25/2024
                                             ____________________   Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes



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               Name                                                   32
Pa rt 2 :     Addit iona l Pa ge


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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             3,644.95
                                                                                                                    $________________________________
 IMCS                                                               ! Contingent
 110 Centrum Drive                                                  ! Unliquidated
                                                                    ! Disputed
 Irmo, SC, 29063
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred       11/16/2023
                                             ___________________
                                                                    ! No
                                                                    ! Yes
        Last 4 digits of account number      6814
                                             ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      5,899.64
                                                                                                                    $________________________________
 Immunalysis Corp
 P. O. Box 102317                                                   ! Contingent
                                                                    ! Unliquidated
 Pasadena, CA, 91189-2317                                           ! Disputed
                                                                    Basis for the claim: Services



        Date or dates debt was incurred       1/23/2024
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      M500
                                             ___________________
                                                                    ! No
                                                                    ! Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Interior Climate Solutions                                         Check all that apply.
                                                                                                                     520.23
                                                                                                                    $________________________________
 8906 Ambassabor Row                                                ! Contingent
                                                                    ! Unliquidated
 Dallas, TX, 75247                                                  ! Disputed
                                                                    Basis for the claim: Services



        Date or dates debt was incurred      3/4/2024
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     ! No
                                                                    ! Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     3,747.48
                                                                                                                    $________________________________
 IPFS Corporation                                                   Check all that apply.
 PO Box 419090                                                      ! Contingent
                                                                    ! Unliquidated
 Kansas City, MO, 64105                                             ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       3/29/2024
                                             ___________________    Is the claim subject to offset?
                                             1452                ! No
        Last 4 digits of account number      ___________________ ! Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Kipu Systems LLC (pd via CC)                                       Check all that apply.
                                                                                                                      410.39
                                                                                                                    $________________________________
 255 Alhambra Circle Ste 900                                        ! Contingent
                                                                    ! Unliquidated
 Coral Gables, FL, 33134                                            ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       2/29/2024
                                             ____________________   Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes



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               Name                                                   32
Pa rt 2 :     Addit iona l Pa ge


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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             10,032.33
                                                                                                                    $________________________________
 Life Technologies/Invitrogen                                       ! Contingent
 c/o Bank of America                                                ! Unliquidated
 12088 Collection Center Drive                                      ! Disputed
 Chicago, IL, 60693
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred       10/10/2023
                                             ___________________
                                                                    ! No
                                                                    ! Yes
        Last 4 digits of account number      9037
                                             ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Undetermined
                                                                                                                    $________________________________
 Lindsey Scott
 6916 Villita Avenida Street                                        ! Contingent
 Austin, TX, 78741                                                  ! Unliquidated
                                                                    ! Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    ! No
                                                                    ! Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Lipomed Inc                                                        Check all that apply.
                                                                                                                     2,360.60
                                                                                                                    $________________________________
 150 Cambridge Park Dr. Ste. 705                                    ! Contingent
                                                                    ! Unliquidated
 Cambridge, MA, 2140                                                ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      11/16/2023
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     ! No
                                                                    ! Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     797.70
                                                                                                                    $________________________________
 Magnit Quick, LLC (Quick Search)                                   Check all that apply.
 P. O. Box 534305                                                   ! Contingent
                                                                    ! Unliquidated
 Atlanta, GA, 30353-4305                                            ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       10/31/2023
                                             ___________________    Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Matheson Tri-Gas, Inc.                                             Check all that apply.
                                                                                                                      842.10
                                                                                                                    $________________________________
 PO Box 123028                                                      ! Contingent
                                                                    ! Unliquidated
 Dallas, TX, 75312                                                  ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       1/31/2024
                                             ____________________   Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      9791
                                             ___________________    ! Yes



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               Name                                                   32
Pa rt 2 :     Addit iona l Pa ge


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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             4,338.87
                                                                                                                    $________________________________
 Phenomenex, Inc.                                                   ! Contingent
 P. O. Box 749397                                                   ! Unliquidated
                                                                    ! Disputed
 Los Angeles, CA, 90074
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred       2/13/2024
                                             ___________________
                                                                    ! No
                                                                    ! Yes
        Last 4 digits of account number      2117
                                             ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      5,000.00
                                                                                                                    $________________________________
 Philip Breitenbucher
 13689 Basswod Dr.                                                  ! Contingent
                                                                    ! Unliquidated
 Corona, CA, 92883                                                  ! Disputed
                                                                    Basis for the claim: Services



        Date or dates debt was incurred       2/29/2024
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    ! No
                                                                    ! Yes
  54
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Purchase Power - Pitney Bowes                                      Check all that apply.
                                                                                                                     18.67
                                                                                                                    $________________________________
 PO Box 371874                                                      ! Contingent
                                                                    ! Unliquidated
 Pittsburgh, PA, 15250-7874                                         ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      3/7/2024
                                             ___________________    Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      8282
                                             __________________
                                                                    ! Yes
  55
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     1,500.00
                                                                                                                    $________________________________
 PYA, P.C.                                                          Check all that apply.
 2220 Sutherland Avenue                                             ! Contingent
                                                                    ! Unliquidated
 Knoxville, TN, 37919                                               ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       3/29/2024
                                             ___________________    Is the claim subject to offset?
                                             9974                ! No
        Last 4 digits of account number      ___________________ ! Yes
  56
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 RecoveryTrek LLC                                                   Check all that apply.
                                                                                                                      1,926.00
                                                                                                                    $________________________________
 440 Moticello Ave.                                                 ! Contingent
                                                                    ! Unliquidated
 Norfolk, VA, 23510                                                 ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       3/1/2024
                                             ____________________   Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes



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               Name                                                   32
Pa rt 2 :     Addit iona l Pa ge


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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  57
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             3,250.00
                                                                                                                    $________________________________
 S. Tipton Studio                                                   ! Contingent
 809 W. 12th Street                                                 ! Unliquidated
                                                                    ! Disputed
 Austin, TX, 78701
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred       7/15/2023
                                             ___________________
                                                                    ! No
                                                                    ! Yes
        Last 4 digits of account number      ___________________
  58
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 San Francisco Collaborative Courts
 400 McAllister St, Room 402                                        ! Contingent
 San Francisco, CA, 94102                                           ! Unliquidated
                                                                    ! Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    ! No
                                                                    ! Yes
  59
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Sarstedt, Inc.                                                     Check all that apply.
                                                                                                                     6,102.87
                                                                                                                    $________________________________
 PO Box 468                                                         ! Contingent
                                                                    ! Unliquidated
 Newton, NC, 28658                                                  ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      2/8/2024
                                             ___________________    Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      0096
                                             __________________
                                                                    ! Yes
  60
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     19,050.19
                                                                                                                    $________________________________
 Siemens                                                            Check all that apply.
 P. O. Box 121102                                                   ! Contingent
                                                                    ! Unliquidated
 Dallas, TX, 75312-1102                                             ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       7/7/2023
                                             ___________________    Is the claim subject to offset?
                                             7959                ! No
        Last 4 digits of account number      ___________________ ! Yes
  61
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 State of California                                                Check all that apply.
                                                                                                                      0.00
                                                                                                                    $________________________________
 Franchise Tax Board                                                ! Contingent
 PO Box 942857                                                      ! Unliquidated
 Sacramento, CA, 94257                                              ! Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes



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               Name                                                   32
Pa rt 2 :     Addit iona l Pa ge


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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  62
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             2,959.72
                                                                                                                    $________________________________
 Stericycle Inc                                                     ! Contingent
 P. O. Box 6575                                                     ! Unliquidated
                                                                    ! Disputed
 Carol Stream, IL, 60197-6575
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred       10/31/2023
                                             ___________________
                                                                    ! No
                                                                    ! Yes
        Last 4 digits of account number      5437
                                             ___________________
  63
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      69.34
                                                                                                                    $________________________________
 T38FAX
 1100 E. Hector St. Ste 313                                         ! Contingent
                                                                    ! Unliquidated
 Conshohocken, PA, 19428                                            ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       1/23/2024
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    ! No
                                                                    ! Yes
  64
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Takara                                                             Check all that apply.
                                                                                                                     253.24
                                                                                                                    $________________________________
 Takara Bio USA, Inc.                                               ! Contingent
 PO BOX 45794                                                       ! Unliquidated
 San Francisco, CA, 94145-0794                                      ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      7/6/2023
                                             ___________________    Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      7943
                                             __________________
                                                                    ! Yes
  65
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     36,482.99
                                                                                                                    $________________________________
 Tecan US, Inc                                                      Check all that apply.
 9401 Global Center Drive                                           ! Contingent
 Suite 140                                                          ! Unliquidated
 Morrisville, NC, 27560                                             ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       11/28/2023
                                             ___________________    Is the claim subject to offset?
                                             2193                ! No
        Last 4 digits of account number      ___________________ ! Yes
  66
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Telcor                                                             Check all that apply.
                                                                                                                      27,300.94
                                                                                                                    $________________________________
 9401 Global Center Drive                                           ! Contingent
 Suite 140                                                          ! Unliquidated
 Lincoln, NE, 68510                                                 ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       4/1/2024
                                             ____________________   Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes



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  Debtor       _______________________________________________________     Case number (if known)_____________________________________
               Name                                                   32
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  67
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             1,691.83
                                                                                                                    $________________________________
 The Hartford                                                       ! Contingent
 PO Box 660916                                                      ! Unliquidated
                                                                    ! Disputed
 Dallas, TX, 75266-0916
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred       4/5/2024
                                             ___________________
                                                                    ! No
                                                                    ! Yes
        Last 4 digits of account number      1796
                                             ___________________
  68
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      3,106.58
                                                                                                                    $________________________________
 Thermo Electron North America, LLC
 PO Box 742775                                                      ! Contingent
                                                                    ! Unliquidated
 Atlanta, GA, 30374-2775                                            ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       8/6/2023
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    ! No
                                                                    ! Yes
  69
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Thermo FIscher Scientific                                          Check all that apply.
                                                                                                                     12,426.32
                                                                                                                    $________________________________
 168 Third Avenue                                                   ! Contingent
 Waltham, MA, 02451                                                 ! Unliquidated
                                                                    ! Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     ! No
                                                                    ! Yes
  70
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     696.00
                                                                                                                    $________________________________
 Translational Software Inc                                         Check all that apply.
 7683 SE 27th St.                                                   ! Contingent
                                                                    ! Unliquidated
 Mercer Island, WA, 98040                                           ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       12/31/2023
                                             ___________________    Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes
  71
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Trinsic Technologies, Inc                                          Check all that apply.
                                                                                                                      63,349.44
                                                                                                                    $________________________________
 15843 Opal Fir Dr.                                                 ! Contingent
 Suite 100                                                          ! Unliquidated
 Austin, TX, 78728                                                  ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       7/1/2018
                                             ____________________   Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      ___________________    ! Yes



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               Genotox Laboratories, Ltd. Filed 05/13/24 Entered 05/13/24 17:08:45 Main24-10454     Document Pg 27 of
  Debtor       _______________________________________________________     Case number (if known)_____________________________________
               Name                                                   32
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  72
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             1,380.19
                                                                                                                    $________________________________
 UBEO LLC                                                           ! Contingent
 P. O. Box 790448                                                   ! Unliquidated
                                                                    ! Disputed
 St. Louis, MO, 63179-0448
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred       4/11/2024
                                             ___________________
                                                                    ! No
                                                                    ! Yes
        Last 4 digits of account number      6974
                                             ___________________
  73
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      797.09
                                                                                                                    $________________________________
 ULINE
 Attn: Accounts Receivable                                          ! Contingent
 P. O. Box 88741                                                    ! Unliquidated
 Chicago, IL, 60680-1741                                            ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       3/1/2024
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      7513
                                             ___________________
                                                                    ! No
                                                                    ! Yes
  74
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 UTAK                                                               Check all that apply.
                                                                                                                     355.80
                                                                                                                    $________________________________
 25020 Avenue Tibbits                                               ! Contingent
                                                                    ! Unliquidated
 Valencia, CA, 91355                                                ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      9/21/2023
                                             ___________________    Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      5885
                                             __________________
                                                                    ! Yes
  75
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     34,184.86
                                                                                                                    $________________________________
 VWR International LLC                                              Check all that apply.
 P. O. Box 640169                                                   ! Contingent
                                                                    ! Unliquidated
 Pittsburgh, PA, 15264-0169                                         ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       11/29/2023
                                             ___________________    Is the claim subject to offset?
                                             3455                ! No
        Last 4 digits of account number      ___________________ ! Yes
  76
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Waystar dba ZirMed Inc.                                            Check all that apply.
                                                                                                                      10,938.97
                                                                                                                    $________________________________
 1311 Solutions Center                                              ! Contingent
                                                                    ! Unliquidated
 Chicago, IL, 60677-1311                                            ! Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       3/12/2024
                                             ____________________   Is the claim subject to offset?
                                                                    ! No
        Last 4 digits of account number      7723
                                             ___________________    ! Yes



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  Debtor       _______________________________________________________     Case number (if known)_____________________________________
               Name                                                   32
Pa rt 2 :    Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  77
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             8,500.00
                                                                                                                    $________________________________
 Zhao Laboratory Consulting LLC                                     ! Contingent
 1310 Indigo Bay Ct.                                                ! Unliquidated
                                                                    ! Disputed
 Pearland, TX, 77584
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
     Date or dates debt was incurred          11/1/2023
                                             ___________________
                                                                    ! No
                                                                    ! Yes
     Last 4 digits of account number         ___________________

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                    ! Contingent
                                                                    ! Unliquidated
                                                                    ! Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
     Last 4 digits of account number         ___________________
                                                                    ! No
                                                                    ! Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                    ! Contingent
                                                                    ! Unliquidated
                                                                    ! Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
     Last 4 digits of account number         __________________     ! No
                                                                    ! Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                    ! Contingent
                                                                    ! Unliquidated
                                                                    ! Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    ! No
     Last 4 digits of account number         ___________________    ! Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                    ! Contingent
                                                                    ! Unliquidated
                                                                    ! Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                    ! No
     Last 4 digits of account number         ___________________    ! Yes



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 Debtor       _______________________________________________________     Case number (if known)_____________________________________
              Name                                                   32
Pa rt 4 :     T ot a l Amount s of t he Priorit y a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                          Total of claim amounts



5a. Total claims from Part 1                                                                    5a.
                                                                                                            0.00
                                                                                                          $_____________________________




5b. Total claims from Part 2                                                                    5b.   +     8,224,663.26
                                                                                                          $_____________________________




5c. Total of Parts 1 and 2                                                                                  8,224,663.26
                                                                                                5c.       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                 page __     18
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                                                32
 Fill in this information to identify the case:

             Genotox Laboratories, Ltd.
 Debtor name __________________________________________________________________

                                         Western District of Texas
 United States Bankruptcy Court for the:______________________

                           24-10454                                         7
 Case number (If known):   _________________________                Chapter _____



                                                                                                                                      ! Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
       ! No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ! Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease
                                       2170 Woodward Street, Suite 100                  Agellan Commercial REIT U.S. L.P
         State what the contract or    Austin, Texas 78744                              101 E. Old Settlers Blvd
 2.1     lease is for and the nature
         of the debtor’s interest
                                       Lessor                                           Suite 120
                                                                                        Round Rock, TX, 78664
         State the term remaining
                                       September 30, 2025
         List the contract number of
         any government contract

                                       Mini MicroLab StarLet (lab equip.)               De Lage Landen Financial Services, Inc.
         State what the contract or    Lessee                                           P.O. Box. 825736
 2.2     lease is for and the nature
         of the debtor’s interest                                                       Philadelphia, PA, 19182

         State the term remaining      49 payments remaining
         List the contract number of
         any government contract

                                       Tip Novus/Tip Lumis (lab equip.)                 De Lage Landen Financial Services, Inc.
         State what the contract or    Lessee
         lease is for and the nature
                                                                                        P.O. Box. 825736
 2.3
         of the debtor’s interest                                                       Philadelphia, PA, 19182

         State the term remaining      18 Payments Remaining
         List the contract number of
         any government contract

                                       Deferred Prosecution Agreement                   United States of America
         State what the contract or
 2.4
         lease is for and the nature   and Settlement Agreement                         G. Karthik Srnivasen, Alan Buie
         of the debtor’s interest                                                       601 NW Loop 410, Suite 600
                                                                                        Austin, TX, 78730
         State the term remaining
         List the contract number of
         any government contract

                                       2 Ricoh copiers                                   Ubeo Business Services
         State what the contract or    Lessee
 2.5     lease is for and the nature
                                                                                         P O. Box 790448,
         of the debtor’s interest                                                        St. Louis, MO, 63179-0448

         State the term remaining      December 31, 2028
         List the contract number of
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       2
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                                                 32
               Genotox Laboratories, Ltd.                                                                            24-10454
Debtor         _______________________________________________________                        Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c t s or U ne x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                          Shipping                                        Cardinal Health
            State what the contract or                                                    P.O. Box 730112
   6
 2.____     lease is for and the nature                                                   Dallas, TX, 75373
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

                                          IT Services                                     Trinsic Technologies
            State what the contract or                                                    15843 Opal Fir Dr. Suite 100
   7
 2.____     lease is for and the nature
            of the debtor’s interest                                                      Austin, TX, 78728

            State the term remaining
            List the contract number of
            any government contract

                                          Billing services                                Bill.com
            State what the contract or    Agent                                           6220 America Center Drive, Suite 100
   8
 2.____     lease is for and the nature
            of the debtor’s interest
                                                                                          Alviso, CA, 95002

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          Corporate Integrity Agreement                   Office of Inspector General of the
   9
 2.____     lease is for and the nature                                                   Department of Heath and Human Services
            of the debtor’s interest                                                      330 Independence Avenue, S.W.
                                                                                          Washington, DC, 20201
            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract



 Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                2 of ___
                                                                                                                                         page ___   2
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                                        32




                                                       All creditors by virtue of
                                                       Genotox Laboratories
                                                       Management, LLC being
                                                       the General Partner.
